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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

  JOEL LUCOFF                         )                               CIVIL ACTION NO. 0:20-cv-62125
                                      )
        Plaintiff,                    )
  vs.                                 )
                                      )
  AMERICAN HONDA FINANCE              )
  CORPORATION d/b/a ACURA             )
  FINANCIAL SERVICES                  )
                                      )
        Defendant.                    )
  ____________________________________)



                     JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

         Plaintiff,    JOEL        LUCOFF,           and     Defendant          AMERICAN              HONDA           FINANCE

  CORPORATION d/b/a ACURA FINANCIAL SERVICES, pursuant to Fed. R. Civ. P.

  41(a)(1)(A)(ii),       hereby           stipulate         to        the        dismissal            of       this     matter,

  with prejudice, as to all defendants, with each party to bear their own attorney’s fees, costs and

  expenses.

                                                            By:


   /s/Joel D. Lucoff                                               /s/ Gabrielle Gonzalez
   Joel D. Lucoff, Esq.                                            Adam J. Wick, Esquire
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  CIVIL ACTION NO. 0:20-cv-62125



                                        CERTIFICATE OF SERVICE

         This is to certify that on this 11 day of February 2021, a copy of the foregoing was filed

  electronically with the Clerk of the Court using the CM/ECF system. Notice of this filing will be

  sent to all counsel of record registered to receive electronic service by operation of the court’s

  electronic filing system.

                                                          /s/ Gabrielle Gonzalez
                                                          Gabrielle Gonzalez, Esq.




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